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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )             8:08CR89
                     Plaintiff,                    )
                                                   )
       vs.                                         )             ORDER
                                                   )
HUGO RAMIREZ,                                      )
                                                   )
                     Defendant.                    )


       This matter is before the court on the motion for leave to file pretrial motions out of
time by defendant Hugo Ramirez (Ramirez) (Filing No. 45).          Upon consideration, the
motion will be granted.


       IT IS ORDERED:
       Defendant Ramirez's motion for leave to file pretrial motions out of time (Filing No.
45) is granted. Ramirez is given until on or before April 8, 2008, in which to file the
pretrial motions set forth in his request.
       DATED this 31st day of March, 2008.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge
